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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

   IN RE: CHINESE-MANUFACTURED                               MDL No. 09-2047
   DRYWALL PRODUCTS LIABILITY
   LITIGATION                                                SECTION L (5)

   THIS DOCUMENT RELATES TO:                                 JUDGE FALLON

   ALL CASES                                                 MAG. JUDGE NORTH


                              ORDER AND REASONS

        Before the Court is a Motion to Stay filed by Individual Counsel from the Florida

Individual Settlement, seeking to stay this Court’s previous Order Allocating Common Benefit

Fees from the Florida Individual Settlement. R. Doc. 23207. Class Counsel filed an opposition to

the motion. R. Doc. 23208. Having considered the briefing, the Court now rules as follows.

   I.      BACKGROUND

        This dispute stems from the Chinese Drywall multi-district litigation (“MDL”) that arose

after thousands of plaintiffs in several states filed suits alleging that drywall used in the

construction of their homes was defective. The plaintiffs claimed that the drywall, which had

been manufactured in China, had emitted gases that damaged wiring and appliances and caused

physical afflictions to the homes’ residents. Pursuant to a Transfer Order from the United States

Judicial Panel on Multidistrict Litigation, on June 15, 2009, all federal cases involving Chinese

drywall were consolidated for pretrial proceedings in MDL No. 2047 before this Court.

        The drywall at issue in this MDL was manufactured by two groups of defendants: (1) the

Knauf Defendants, German-based manufacturers whose Chinese subsidiary sold some of the

drywall; and (2) the Taishan Defendants, Chinese-based manufacturers who produced some of

the drywall. The present motion relates to the Taishan Defendants. In January 2020, thousands of


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plaintiffs settled with the Taishan Defendants in a global settlement agreement, including many

plaintiffs in the Amorin class. However, 497 plaintiffs in the Amorin class whose cases had been

remanded to the United States District Court for the Southern District of Florida did not

participate in the global settlement. These plaintiffs instead settled with the Taishan Defendants

in the Florida Individual Settlements (“FIS”), which form the basis of the present dispute.

       The attorneys who negotiated the settlement of the 497 claims in the FIS are referred to

as “Individual Counsel.” In resolving their clients’ claims, Individual Counsel benefitted from

work that had been done by a group of Plaintiffs’ counsel in the overarching MDL, referred to as

“Class Counsel.” Because Class Counsel’s efforts had contributed to Individual Counsel’s ability

to settle these cases, Class Counsel sought a portion of the fees that Individual Counsel had

received. In March of 2020, Class Counsel filed an amended motion for an award of common

benefit fees in the Southern District of Florida, seeking sixty percent of the fees earned by

Individual Counsel. SDFL Case No. 11-cv-22408, R. Doc. 384. Individual Counsel opposed the

motion. SDFL Case No. 11-cv-22408, R. Doc. 390. On May 22, 2020, Judge Marcia G. Cooke,

after hearing from the parties, ruled that Class Counsel were entitled to forty-five percent of the

amount Individual Counsel had earned in fees from the FIS. SDFL Case No. 11-cv-22408, R.

Doc. 408. Individual Counsel appealed Judge Cooke’s order to the United States Court of

Appeals for the Eleventh Circuit. SDFL Case No. 11-cv-22408, R. Doc. 411. In their brief to the

Eleventh Circuit, Individual Counsel stated that the award to be paid to Class Counsel under

Judge Cooke’s order would total $5,832,950.95. On June 9, 2021, the Eleventh Circuit affirmed

the award of forty-five percent of Individual Counsel’s fees to Class Counsel. Amorin v. Taishan

Gypsum Co., Ltd., __ Fed. App’x. __, 2021 WL 2349920, at *5 (11th Cir. June 9, 2021).




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         The determination and allocation of the common benefit fees was long contemplated as a

two-step process in which Judge Cooke would determine the amount of common benefit fees to

be awarded and this Court would direct the allocation of those fees. In July 2019, this Court

ordered that “any claim for an award of common benefit fees and costs from the proceeds of the

Florida Individual Settlement shall be directed to the transferor court, the Southern District of

Florida,” with this Court, as the MDL court, “retaining jurisdiction to allocate any such award

between and among the individual common benefit attorneys.” MDL No. 2047, R. Doc. 22289.

On September 16, 2021, this Court granted Class Counsel’s motion to allocate the common

benefit fees. MDL No. 2047, R. Doc. 23128. The Court’s Order specified the portion of the total

award of $5,832,950.95 in common benefit fees to be paid to the various law firms that

contributed to Class Counsel’s work, ordering specific amounts to be paid to nineteen firms. Id.

at 2. Individual Counsel now seek to stay that Order.

   II.      PRESENT MOTION

         Individual Counsel’s motion seeks to stay this Court’s Order to transfer and allocate the

common benefit fees. R. Doc. 23207. Individual Counsel argue that a temporary stay is

appropriate because there is a pending motion to enforce the judgment before Judge Cooke in the

Southern District of Florida, which Individual Counsel have opposed. R. Doc. 23207-1 at 2.

Individual Counsel argue that if Judge Cooke were to deny the motion to enforce the judgment,

Individual Counsel would be unable to comply with both Judge Cooke’s decision and this

Court’s Order to transfer the common benefit fees. Id. at 3.

         In opposition, Class Counsel argue that their motion to enforce the judgment in the

Southern District of Florida was only necessary because Individual Counsel refused to transfer

the fees for allocation, even after the Eleventh Circuit affirmed the fee award and issued a



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mandate. R. Doc. 23208 at 1. Class Counsel aver that, though Individual Counsel claim they plan

to appeal the fee award to the United States Supreme Court, Individual Counsel did not seek a

stay of the Eleventh Circuit’s mandate, so there is no justification for the delay in transferring the

fees. Id. Class Counsel further argue that, as soon as Individual Counsel obey this Court’s Order

to transfer the fees, the motion to enforce the judgment will be rendered moot. Id.

   III.      DISCUSSION

          The Court finds that a stay of its Order to transfer and allocate common benefit fees is not

justified. As Class Counsel point out, the pending motion to enforce the judgment—the basis of

Individual Counsel’s argument for staying the Order—will be moot as soon as Individual

Counsel transfer the fees to the registry of this Court for allocation. Thus, there is no reason that

motion should delay compliance with the Order.

          Moreover, there is little justification for further delaying the payment of common benefit

fees to Class Counsel. This litigation has been ongoing for more than ten years. The two-step

procedure in which the Southern District of Florida would determine the amount of common

benefit fees while this Court would direct the allocation of those fees was established in an Order

more than two years ago. MDL No. 2047, R. Doc. 22289. As contemplated, Judge Cooke, after

considering briefing from both sides, determined that Class Counsel should receive forty-five

percent of the fees Individual Counsel had earned. SDFL Case No. 11-cv-22408, R. Doc. 408.

The Eleventh Circuit then affirmed Judge Cooke’s decision. Amorin v. Taishan Gypsum Co.,

Ltd., __ Fed. App’x. __, 2021 WL 2349920, at *5 (11th Cir. June 9, 2021). Individual Counsel’s

own disclosure of the amount of fees they had earned forms the basis of the $5,832,950.95 figure

to be transferred to Class Counsel. Thus, with the amount of common benefit fees determined

(and affirmed), this Court’s jurisdiction to allocate those fees established, and the amount to be



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allocated undisputed, there is no reason for further delay in the transfer and allocation of the fees

pursuant to this Court’s Order.

   IV.      CONCLUSION

         For the foregoing reasons,

         IT IS ORDERED that the Motion to Stay, R. Doc. 23207, is DENIED.

         IT IS FURTHER ORDERED that Individual Counsel TRANSFER the common

benefit fees to the registry of this Court pursuant to the Order Transferring and Allocating

Common Benefit Fees, R. Doc. 23128.



         New Orleans, Louisiana, this 27th day of October, 2021.




                                                            ________________________________
                                                            UNITED STATES DISTRICT JUDGE




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